           Case 1:25-cv-00381-ABJ            Document 128-9           Filed 04/26/25       Page 1 of 2




                                                        CUI #




                                   NOTICE REGARDING DATA USAGE

This email and attachment are considered Controlled Unclassified Information (CUI). The attached file provides
the relevant human capital data responding to your original request. The data should be used only for the
purpose(s) agreed to by the Oﬃce of Human Capital, and only in accordance with the Protocol for the
Dissemination of Human Capital Data from the Oﬃce of Human Capital. Note: Human Capital and employee
information changes regularly in response to scheduled personnel actions. We strongly caution you to conduct a
quality check by comparing these data with what you, as our internal customer and contact, believe to be
accurate for your program oﬃces and responsibility. Should you find any discrepancies, please contact us before
further distributing these data.

This e‐mail may contain personally identifiable information or other confidential information that is privileged or
otherwise protected from disclosure under applicable laws, policies, and agreements. This information should
only be used for designated and authorized purposes. Do not further disseminate this information to other CFPB
employees except those who are duly authorized to access the information. Do not disclose any human capital
data outside of the Bureau without first discussing such disclosure with Human Capital. To avoid accidental,
inappropriate or unauthorized use of this data in the future, please notify the Human Capital Systems and
Operations Team at
CFPB_HCDataRequests@cfpb.gov if there is any reason to believe the data have been compromised.

Thank you for helping us safeguard and protect the integrity of employee data. HR Data Insights and Solutions
(HRDIS)
Oﬃce of Human Capital CFPB_HCDataRequests@cfpb.gov




                                                                                                CFPB_00370




    DX-09_001
                Case 1:25-cv-00381-ABJ                                Document 128-9                        Filed 04/26/25                 Page 2 of 2


CUI ‐ CONFIDENTIAL ‐ PREDECISIONAL ‐ DRAFT 4/15/2025                                                                          DO NOT FORWARD
Current Status as of PP5 FY25 ‐ Ending 03/22/2025 Against Total Approved Positions           Reduction Scenario
Information based on PP5 FY25 Data, 04/03/2025       (Includes Interns)                      Specified Targets
Onboard includes later departures for DRP, Resignation, Retirement so final counts will be   Onboard includes later departures for DRP, Resignation, Retirement so final counts
lower                                                                                        will be lower
Count of Release/Retain Status                      Column Labels
                  Division/Office                     Onboard     Vacancy      Grand Total      Specified       Reduction      Reduction      % of      Total       Total %
                                                                   Frozen                        Targets      Required from    Required     Onboard Reduction of Reduction
                                                                                                                Onboard          from        to RIF Position Plan of Position
                                                                                                                               Vacancies             (Onboard        Plan
  CFPB CENTRALIZED SERVICES                               4           22           26              0               (4)            22         ‐100%       26          100%
  CFPB CENTRALIZED SERVICES‐HUMAN CAPITAL                  4          22            26              0
  CONSUMER RESPONSE EDUCATION DIV                        148          8            156             85              (63)            8          ‐43%         71           46%
  CONSUMER RESPONSE                                      127           6           133             73
  CONSUMER RESPONSE EDUCATION DIV                          8                         8              2
  FINANCIAL EDUCATION                                     13           2            15             10
  DIRECTOR                                                87          23           110             11              (76)           23          ‐87%         99           90%
  Legislative Affairs                                      3           1             4              1
  Off of Policy Planning & Strategy                       16                        16              1
  Office of Civil Rights                                  10           2            12              1
  Office of Fair Lending and Equal Opp                    13           4            17              1
  Office of Minority and Women Incl                       14                        14              1
  OFFICE OF THE DEPUTY DIRECTOR                                        1             1              1
  OFFICE OF THE DIRECTOR                                  31          15            46              5
  ENFORCEMENT DIVISION                                   241          34           275             75             (166)           34          ‐69%         200          73%
  ENFORCEMENT                                            241          34           275             75                                                       0
  EXTERNAL AFFAIRS DIVISION                               39          10            49              5              (34)           10          ‐87%         44           90%
  COMMUNICATIONS                                          10           5            15              1
  EXTERNAL AFFAIRS DIVISION                               13           3            16              1
  INTERGOVERNMENTAL AFFAIRS                                5           2             7              1
  PRIVATE SECTOR ENGAGEMENT                                5                         5              1
  PUBLIC ENGAGEMENT                                        6                         6              1
  LEGAL DIVISION                                          81          12           93              40              (41)           12          ‐51%         53           57%
  GENERAL LAW AND ETHICS                                  27           1            28             11
  LAW AND POLICY                                          27           4            31             11
  LEGAL DIVISION                                          12           1            13              5
  LITIGATION                                              12           5            17             12
  OVERSIGHT                                                3           1             4              1
  OPERATIONS DIVISION                                    315          36           351            125             (190)           36          ‐60%         226          64%
  ADMINISTRATIVE OPERATIONS                               34           2            36              9
  CHIEF DATA OFFICER                                       9           3            12             15
  FINANCE AND PROCUREMENT                                 53           7            60             27
  HUMAN CAPITAL                                           60           9            69             28
  OPERATIONS DIVISION                                      8           4            12              1
  TECHNOLOGY AND INNOVATION                              151          11           162             45
  OTHER PROGRAMS                                          30           4            34              1              (29)            4          ‐97%         33           97%
  DIRECTOR'S FINANCIAL ANALYSTS                           25           4            29              0                                                       0
  OMBUDSMAN                                                5                         5              1                                                       0
  RESEARCH MONITORING AND REGULATIONS DIV                217           25          242             68             (149)           25          ‐69%         174          72%
  Competition and Innovation                               9            1           10              1
  CONSUMER POPULATIONS                                    45            8           53             10
  MARKETS                                                 34            5           39             15
  REGULATIONS                                             62            3           65             20
  RESEARCH                                                55            7           62             12
  RESEARCH MONITORING AND REGULATIONS DIV                 12            1           13             10
  SUPERVISION DIVISION                                   456           36          492             75             (381)           36          ‐84%         417          85%
  DIVISION OF SUPERVISION                                  1            1            2              1
  OFFICE OF SUPV POLICY AND OPS                          105           10          115             10
  SUPERVISION EXAMINATIONS                                 2            3            5              2
  SUPERVISION MIDWEST REGION                              84            8           92              0
  SUPERVISION NORTHEAST REGION                            89            2           91              0
  SUPERVISION SOUTHEAST REGION                            96            3           99             62
  SUPERVISION WEST REGION                                 79            9           88              0
  UNALLOCATED HEADCOUNT                                                13           13              0               0             13         #DIV/0!       13          100%
  Positions Pending Approval                                           13           13                                                                      0
Grand Total                                              1618         223         1841            485             (1133)          223         ‐70%        1356          74%
                                                                                                               Cross Check         0




                                                                                                                                                   CFPB_00371

     DX-09_002
